0033-5T-EPIB5T-00230470-285698       United States Bankruptcy Court
                                                                          FOR THE
                                                            Northern District of Ohio, Western Div
IN RE:                                                                       DATE 06/28/2024                         CASE No. 24-30137 G
           RICHARD MONROE
           10318 BLUE RIDGE DR. S.                                                                                            SS #1 XXX-XX-6451
           WHITEHOUSE, OH 43571




                                        NOTICE OF CLAIMS FILED AND INTENT TO PAY CLAIMS
NOTICE is hereby given of the intention of the Chapter 13 Trustee to pay the claims as duly filed and allowed of creditors named and in the amounts
set forth according to the terms of the plan, pursuant to 11 U.S.C. 502(a), and Bankruptcy Rule 3002. Unless a party in interest files an objection
and request for hearing within 28 days of the date of the service of this Notice, the said claims will be so paid. If an objection to a claim is filed after
disbursements have commenced pursuant to this Notice, the Chapter 13 Trustee will not pursue recovery of any funds disbursed prior to the objection.
 CLAIM #                    NAME AND ADDRESS OF CREDITOR                                                    AMOUNT        FORGIVE %      CLASSIFICATION

              MANLEY DEAS KOCHALSKI / PO BOX 165028                                                                                                 Not Filed
              COLUMBUS, OH 43216
              OPORTUN/WEBBANK / 2 CIRCLE STAR WAY                                                                                                   Not Filed
              SAN CARLOS, CA 94070
              HEALTHPARTNERS / 8170 33RD AVE S                                                                                                      Not Filed
              MINNEAPOLIS, MN 55424
              LVNV FUNDING / % RESURGENT CAPITAL SERVICE                                                                                            Not Filed
              PO BOX 1269 / GREENVILLE, SC 29603
              STATE BANK AND TRUST / 555 S. FEDERAL HWY. #200                                                                                       Not Filed
              BOCA RATON, FL 33432-6033
              FIRST MARK SERVICES / PO BOX 82522                                                                                                    Not Filed
              LINCOLN, NE 68501
              SERVICE FINANCE CO., LLC / 555 S FEDERAL HWY STE 200                                                                                  Not Filed
              BOCA RATON, FL 33432
              SYSTEMS & SERVICES / TECHNOLOGIES INC                                                                                                 Not Filed
              4315 PICKETT RD / ST JOSEPH, MO 64503
              TRI STATE ADJUSTMENTS / 3439 EAST AVE S                                                                                               Not Filed
              LACROSSE, WI 54601-7241
              ALLTRAN FINANCIAL LP / 5800 NORTH COURSE DRIVE                                                                                        Not Filed
              HOUSTON, TX 77072
              NORTH MEMORIAL MEDICAL CENTER / 3300 OAKDALE AVE. N.                                                                                  Not Filed
              ROBBINSDALE, MN 55422
              PROSPER MARKETPLACE INC / C/O WEINSTEIN & RILEY, P.S.                                                                                 Not Filed
              2001 WESTERN AVE., SUITE 400 / SEATTLE, WA 98121


                                                                                                             1,500.00             Debtor's Attorney
      EDWARD L SNYDER
      6545 WEST CENTRAL AVENUE
      SUITE 203
      TOLEDO, OH 43617


I hereby certify that a copy of this notice was served upon the debtor(s) and the debtor(s) attorney of record on this day by regular U.S. Mail
postage prepaid at their addresses as appear in the records hereof.



         DATE:    07/12/2024                                                                          /s/Elizabeth A. Vaughan
                                                                                                      Elizabeth A. Vaughan
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 CLAIM #                    NAME AND ADDRESS OF CREDITOR                                                    AMOUNT        FORGIVE %      CLASSIFICATION

              RAUSCH STURM / 250 N. SUNNYSLOPE RD. #300                                                                                             Not Filed
              BROOKFILD, WI 53005
              CREDIT BUREAU DATA INC / ATTN: BANKRUPTCY                                                                                             Not Filed
              518 STATE STREET / PO BOX 2288 / LA CROSSE, WI 54602
              TOWD POINT MORTGAGE TRUST / c/o SELECT PORTFOLIO SERVICE                                                                              Not Filed
              PO BOX 65450 / SALT LAKE CITY, UT 84165-0450
              HENNEPIN HEALTH CARE / PO BOX 860048                                                                                                  Not Filed
              MINNEAPOLIS, MN 55486-0048
              TRI STATE ADJUSTMENTS / 3439 EAST AVE S                                                                                               Not Filed
              LACROSSE, WI 54601-7241
              CREDITOR ADVOCATES / PO BOX 1264                                                                                                      Not Filed
              PRIOR LAKE, MN 55372
              DISCOVER PERSONAL LOANS / PO BOX 6105                                                                                                 Not Filed
              CAROL STREAM, IL 60197-6105
              TRI STATE ADJUSTMENTS / 3439 EAST AVE S                                                                                               Not Filed
              LACROSSE, WI 54601-7241
              CLEAR BALANCE / WESTERN ALLIANCE BANK                                                                                                 Not Filed
              PO BOX 927830 / SAN DIEGO, CA 92192-7830
              NETCREDIT / 175 W JACKSON BLVD                                                                                                        Not Filed
              SUITE 1000 / CHICAGO, IL 60604
              UNITED COLLECTION BUREAU / INC                                                                                                        Not Filed
              5620 SOUTHWYCK BLVD / TOLEDO, OH 43614
              USSET WEINGARDEN / 4500 PARK GLEN ROAD #300                                                                                           Not Filed
              MINNEAPOLIS, MN 55416


                                                                                                             1,500.00             Debtor's Attorney
      EDWARD L SNYDER
      6545 WEST CENTRAL AVENUE
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         DATE:    07/12/2024                                                                          /s/Elizabeth A. Vaughan
                                                                                                      Elizabeth A. Vaughan
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 CLAIM #                    NAME AND ADDRESS OF CREDITOR                                                    AMOUNT        FORGIVE %      CLASSIFICATION

              DITECH FINANCIAL LLC / 4500 PARK GLEN ROAD #300                                                                                       Not Filed
              ST LOUIS PARK, MN 55416-4891
   001        THE HUNTINGTON NATIONAL BANK / P.O. BOX 89424                                            996.66               98.0000               Unsecured
              CLEVELAND, OH 44101-8539
   002        NCB MANAGEMENT SERVICES INC / ONE ALLIED DRIVE                                           4,402.05             98.0000               Unsecured
              TREVOSE, PA 19053
   003        DISCOVER PERSONAL LOANS / PO BOX 30954                                                   17,410.81            98.0000               Unsecured
              SALT LAKE CITY, UT 84130
   004        STATE OF MINNESOTA, DEPT OF REVENUE / MINNESOTA REVENUE                                  17,930.25             0.0000                       Priority
   PO BOX 64447 - BKY / SAINT PAUL, MN 55164-0447
   004        STATE OF MINNESOTA, DEPT OF REVENUE / MINNESOTA REVENUE                                  4,128.62             98.0000               Unsecured
   PO BOX 64447 - BKY / SAINT PAUL, MN 55164-04z47
   005        RIDGEVIEW MEDICAL CENTER / 500 SOUTH MAPLE STREET                                        843.85               98.0000               Unsecured
              WACONIA, MN 55387
   006        INTERNAL REVENUE SERVICE / P O BOX 7346                                                  70,491.26             0.0000                       Priority
              PHILADELPHIA, PA 19101-7346
   006        INTERNAL REVENUE SERVICE / P O BOX 7346                                                  13,312.28            98.0000               Unsecured
              PHILADELPHIA, PA 19101-7346
   007        LVNV FUNDING LLC / C/O RESURGENT CAPITAL SERVICES                                        95,810.34            98.0000               Unsecured
              P. O. BOX 10587 / GREENVILLE, SC 29603-0587
   008        LVNV FUNDING LLC / C/O RESURGENT CAPITAL SERVICES                                        10,913.83            98.0000               Unsecured
              P. O. BOX 10587 / GREENVILLE, SC 29603-0587
   009        LVNV FUNDING LLC / C/O RESURGENT CAPITAL SERVICES                                        2,878.31             98.0000               Unsecured
              P. O. BOX 10587 / GREENVILLE, SC 29603-0587


                                                                                                             1,500.00             Debtor's Attorney
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                                                                                                      Elizabeth A. Vaughan
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   010        LVNV FUNDING LLC / C/O RESURGENT CAPITAL SERVICES                                        839.79               98.0000               Unsecured
              P. O. BOX 10587 / GREENVILLE, SC 29603-0587
   011        THE HUNTINGTON NATIONAL BANK / P.O. BOX 89424                                            4,966.91                                    DirectPay
              CLEVELAND, OH 44101-8539
   012        JEFFERSON CAPITAL SYSTEMS LLC / P.O. BOX 7999                                            612.61               98.0000               Unsecured
              ST. CLOUD, MN 56302-9617
   013        MIDLAND CREDIT MANAGEMENT, INC. / P.O. BOX 2037                                          15,931.09            98.0000               Unsecured
              WARREN, MI 48090
   014        QUANTUM3 GROUP LLC AS AGENT FOR / VELOCITY INVESTMENTS LLC 21,005.40                                          98.0000               Unsecured
              P.O. BOX 788 / KIRKLAND, WA 98083-0788
   015        LVNV FUNDING LLC / C/O RESURGENT CAPITAL SERVICES                                        47,366.64            98.0000               Unsecured
              P. O. BOX 10587 / GREENVILLE, SC 29603-0587
   016        PORTFOLIO RECOVERY ASSOCIATES / P O BOX 41067                                            590.01               98.0000               Unsecured
              NORFOLK, VA 23541
   017        FINWISE BANK / c/o OPPORTUNITY FINANCIAL, LLC                                            2,326.05             98.0000               Unsecured
              130 E. RANDOLPH STREET, SUITE 3400 / CHICAGO, IL 60601-6060

                                                                                  Total                   332,756.76        *******




                                                                                                             1,500.00             Debtor's Attorney
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